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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

IMPLICIT, LLC,                                 §
                                               §
              Plaintiff,                       §
                                               §
v.                                             §
                                               §
NETSCOUT SYSTEMS, INC.,                        §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                               §
                                               §
              Defendant.                       §

                  MINUTES FOR JURY TRIAL DAY TWO
          HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               December 10, 2019

OPEN: 8:25 a.m.                                                      ADJOURN: 5:00 p.m.

 ATTORNEYS FOR PLAINTIFF:                    See attached.

 ATTORNEYS FOR DEFENDANTS:                   See attached.

 LAW CLERKS:                                 Taylor Fitzner
                                             Christian Chessman

 COURT REPORTER:                             Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                           Jan Lockhart


 TIME         MINUTES
 8:25 a.m.    Court opened. Messrs. Wilson and Lang read into the record exhibits used prior day.
 8:30 a.m.    Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 9:27 a.m.    Courtroom sealed.
 10:13 a.m.   Bench conference. Direct examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 10:14 a.m.   Recess. Courtroom unsealed.
 10:15 a.m.   Recess.
 10:46 a.m.   Court reconvened. Jury returned to the courtroom. Direct examination of Kevin
              Almeroth, Ph.D. by Mr. Hurt
 10:51 a.m.   Courtroom sealed.
 11:45 a.m.   Courtroom unsealed.
 11:54 a.m.   Mr. Hurt passed the witness. Lunch recess.
 12:53 p.m.   Cross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
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 TIME        MINUTES
 1:30 p.m.   Bench conference.
 1:31 p.m.   Cross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
 1:33 p.m.   Bench conference.
 1:35 p.m.   Cross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
 1:53 p.m.   Courtroom sealed.
 2:13 p.m.   Courtroom unsealed. Recess
 2:26 p.m.   Court reconvened. Redirect examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 2:34 p.m.   Bench conference. Courtroom sealed.
             Redirect examination of Kevin Almeroth, Ph.D. by Mr. Hurt.
 2:51 p.m.   Recross examination of Kevin Almeroth, Ph.D. by Mr. Buresh.
 2:52 p.m.   Parties Direct examination of Keith Ugone, Ph.D. by Mr. Davis.
 4:10 p.m.   Jury excused recess. Hearing outside the presence of the Jury.
 4:12 p.m.   Recess.
 4:25 p.m.   Jury returned to the courtroom. Cross of Keith Ugone, Ph.D. by Mr. Kean.
 4:46 p.m.   Bench conference.
 4:49 p.m.   Court’s instruction to the Jury. Cross examination of Keith Ugone, Ph.D. by Mr. Kean.
 4:54 p.m.   Redirect examination of Keith Ugone, Ph.D. by Mr. Davis.
 4:55 p.m.   Parties passed the witness. Plaintiff rests.
 4:57 p.m.   Jury excused until 8:30 a.m. Hearing outside the presence of the Jury.
 5:00 p.m.   Court adjourned.




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